          Case 4:12-cr-00041-JM Document 310 Filed 03/07/14 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                    NO. 4:12CR00041-03 JLH

REBECCA LUCILLE SPRAY                                                             DEFENDANT

                                             ORDER

       Rebecca Lucille Spray appeared before the Court on February 28, 2014, for a scheduled

hearing on the government’s superseding motion to revoke supervised release. Prior to the hearing,

the defendant admitted to methamphetamine use the day prior to the hearing. Based upon the

defendant’s own admission, she was remanded to the custody of the United States Marshal until

such time as she tested negative. The Court has now been informed by the United States Probation

Officer that defendant’s drug test is negative.

       IT IS THEREFORE ORDERED that the hearing on the government’s superseding motion

to revoke supervised release is hereby scheduled to begin on MONDAY, MARCH 10, 2014, at

8:30 A.M., in Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West

Capitol Avenue, Little Rock, Arkansas, to show cause why the term of supervised release previously

imposed should not be revoked. Document #307.

       IT IS SO ORDERED this 7th day of March, 2014.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
